  Case 2:24-cv-00013-MHT-CWB   Document 32     Filed 02/11/25   Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JESSICA ROSA,                        )
                                     )
      Plaintiff,                     )
                                     )         CIVIL ACTION NO.
      v.                             )           2:24cv13-MHT
                                     )
AUBURN UNIVERSITY-                   )
MONTGOMERY AND AUBURN                )
UNIVERSITY,                          )
                                     )
      Defendants.                    )

                                ORDER

      The granting of the parties’ multiple motions for

extensions of time has left the court with insufficient

time to resolve the pending motion for summary judgment

(Doc. 21).      Accordingly, it is ORDERED that:

      (1) The    pretrial      conference        currently        set     for

February 27, 2025, is continued to March 20, 2025, and

the   trial     currently      set       for   April    14,     2025,         is

continued to the term of court beginning on May 12,

2025, with all deadlines tied to these dates modified

accordingly.
  Case 2:24-cv-00013-MHT-CWB    Document 32   Filed 02/11/25   Page 2 of 2




    (2) The     uniform        scheduling     order     (Doc.     12)        is

modified accordingly.

    DONE, this the 11th day of February, 2025.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE




                                   2
